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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

CATHERINE DOBRANSKY,
                                                   Case No.
            Plaintiff,
v.                                                 Hon.

ARROW ELECTRONICS, INC.,

            Defendant.

Noah S. Hurwitz (P74063)
Grant M. Vlahopoulos (P85633)
Kara F. Krause (P85487)
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           There is no other pending or resolved civil action arising out
            of this transaction or occurrence alleged in the Complaint.

                     COMPLAINT AND JURY DEMAND

      Plaintiff CATHERINE DOBRANSKY (“Plaintiff”), by and through her

attorneys, HURWITZ LAW PLLC, states the following for her Complaint and Jury

Demand against Defendant Arrow Electronics, Inc. (hereinafter, “Defendant”):
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                                INTRODUCTION

      1.     There is no pandemic exception to the protections afforded by Title VII

of the Civil Rights Act of 1964 (“Title VII”) and the Elliott-Larsen Civil Rights Act

(“ELCRA”). Defendant clearly did not understand this when it terminated Ms.

Dobransky, a Quality Specialist who had served Defendant in exemplary fashion for

nearly six years, in retaliation for requesting a religious accommodation to the

COVID-19 vaccine. Plaintiff had been working remotely for two years and her

position did not require her to travel or have face-to-face contact with anybody.

Accordingly, she posed no health threat to any coworkers. However, instead of

engaging with Plaintiff in the spirit of “bilateral cooperation,” Defendant denied her

religious accommodation request without any justification.

                         PARTIES AND JURISDICTION

      2.     Plaintiff is an individual residing in White Lake, Oakland County, in

the State of Michigan.

      3.     Defendant Arrow Electronics, Inc. is a for-profit company

headquartered in Arapahoe County, Colorado.

      4.     This Court has original diversity jurisdiction pursuant to 28 U.S.C. §

1332 because Defendant is now, and at all times mentioned was, a corporation duly

organized and existing under the laws of Colorado and Plaintiff is now, and at all

times mentioned was, a citizen and domiciled in the State of Michigan.



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        5.    Venue is proper in the Eastern District of Michigan pursuant to 28

U.S.C. § 1391(e), as it is the district where Plaintiff resides. 28 U.S.C. § 1391(e).

        6.    Plaintiff filed charges of religious and disability discrimination with the

Equal Employment Opportunity Commission on March 22, 2022 and will amend

her complaint to alleged federal discrimination claims once she receives a right to

sue letter.

                            FACTUAL ALLEGATIONS

         Plaintiff’s Employment and Religious Accommodation Requests

        7.    Plaintiff was hired as a Quality Specialist on September 6, 2016.

        8.    Defendant announced a policy requiring all employees to be fully

vaccinated for COVID-19 or to submit accommodation requests on November 10,

2021.

        9.    Defendant’s policy applied to Plaintiff, even though she had been

working remotely for two years and her position did not require her to travel or have

face-to-face contact with anybody.

        10.   Plaintiff submitted her religious accommodation requests detailing her

sincerely held bona fide religious beliefs precluding vaccination on November 15,

2021—just five days after the policy was announced.

        11.   In her religious accommodation request, Plaintiff wrote, in pertinent

part:



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             I was born and raised with Catholic beliefs and ceremonies
             (Baptism, 1st Communion, Confirmation, Married in
             Church) and have raised our sons the same way. I believe
             the spirit of God (1 Corithians 3:16) resides in me (mind,
             heart, soul) and I am aware the “Covid-19 vaccination”
             process uses aborted fetal cell lines which my religious
             beliefs and moral compass do not condone. My body is
             God’s temple and I will honor Him by not accepting this
             experimental injection. I choose my faith in God and His
             plans for me rather than subjecting his temple/my body to
             the known/unknown risks (which no organization seems
             to be accepting any liability for) associated with the
             “vaccine and boosters” Arrow is enforcing in order to
             maintain employment.

      12.    Defendant requested that Plaintiff provide additional information

within three days.

      13.    Defendant asked the following questions:

             a.      How does your belief that “my body is God’s temple” apply to

other aspects of your life?

             b.      Do you regularly attend formal religious services related to your

belief?

             c.      Please identify all medication you are prohibited from taking due

to your belief.

             d.      Please identify all non-medical products you are prohibited from

using due to your belief.

             e.      Have you ever taken any vaccine? If so, when was the last time

you had a vaccine?

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               f.    Have you ever taken any prescription medications? If so, when?

               g.    Why did your belief allow you to take that prescription

medication?

               h.    Have you requested a religious accommodation in the past? If so,

please state when you made the request, the content of the request, and the result of

the request.

               i.    Have you received medical treatment for a COVID-19 infection?

       14.     These questions were designed to elicit information that would form

the basis of a denial, not to extract information.

       15.     Plaintiff supplied additional information on November 29, 2021,

stating, in pertinent part:

               If I am willing to lose my job (although I don’t want to)
               this should show my heartfelt belief that this is wrong and
               will hurt my body. The bible teaches you cannot serve God
               and money, so if you’re mandating that I have to choose –
               I choose God (my body is God’s temple) . . . If any prior
               medications taken had fetal cell lines, I wasn’t aware of it;
               however, this time I am and cannot condone the deliberate
               killing of children… [A]attached is a letter from Father
               Tomy at Saint Mary Church in hopes my religious
               exemption will be granted . . . I feel termination under this
               mandate may not agree with standards of Equal
               Employment Opportunity Commission.

       16.     Plaintiff sought to make daily decisions, including those regarding

vaccination and other medical decisions, through faith-based reasoning.




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      17.    Plaintiffs sincerely held religious beliefs precluded her from taking the

COVID-19 vaccine.

      18.    Potential accommodations that could have been offered includes mask

wearing, social distancing, and daily and/or weekly testing.

      19.    Consistent use of a face mask or respirator is associated with lower odds

of infection. See Kristin L. Andrejko et al., Effectiveness of Face Mask or Respirator

Use in Indoor Public Settings, CTRS. FOR DISEASE CONTROL AND

PREVENTION                       (2022),                     available                at

https://www.cdc.gov/mmwr/volumes/71/wr/mm7106e1.htm.

      20.    The sincerity of Plaintiff’s religious beliefs is not open to question. See

Equal emp. Opportunity Comm’n v. Publix Super Markets, Inc., 471 F. Supp. 3d

684, 699 (M.D. Tenn. 2020); citing United States v. Seeger, 380 U.S. 163, 185

(1965) (“[T]he truth of a belief is not open to question).

      21.    Title VII’s definition of “religion” includes “all aspects of religious

observance and practice, as well as belief.” 42 U.S.C. § 2000e(j); see also 29 C.F.R.

§ 1605.1 (“In most cases whether or not a practice or belief is religious is not at

issue… [R]eligious practices… include moral or ethical beliefs as to what is right

and wrong which are sincerely held with the strength of traditional religious

views.”).




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      22.    An individual’s testimony about his or her belief “must be given great

weight” and is enough to show she has a bona fide religious belief. See e.g., Seeger,

380 U.S. at 184 (1965) (When dealing “with the beliefs of different individuals who

will articulate them in a multitude of ways… the claim of the [party] that his [or her]

belief is an essential part of a religious faith must be given great weight).

      23.    Moreover, “[a]s long as a party’s beliefs are religiously asserted, it is

not for the courts to challenge the truthfulness of such assertions simply because

they developed ‘from revelation, study, upbringing, gradual evolution, or some

source that appears entirely incomprehensible.” E.E.O.C. v. Alliant Techsystems,

Inc., No. CIV.A. 98-0084-R, 1998 WL 777015, at *6 (W.D. Va. Sept. 18, 1998)

(quoting Hobbie v. Unemployment Comm’n of Fla., 480 U.S. 136, 144 n. 9 (1987)).

      24.    There is no factual predicate in the record to suggest that Plaintiff

lacked sincerity in her religious beliefs.

      25.    Defendant denied Plaintiff’s accommodation request and retaliated

against her for engaging in protected activity.

      26.    Defendant never provided an explanation why mask-wearing and other

offered accommodations presented an undue hardship when the practice was deemed

effective throughout the COVID-19 pandemic. See McDaniel v. Essex Intern., Inc.,

571 F.2d 338, 341 (6th Cir. 1978) (“The burden is on [the employer] to make an

effort at accommodation and, if unsuccessful, to demonstrate that they were unable



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to reasonably accommodate the plaintiff’s religious beliefs without undue

hardship.”).

      27.      Plaintiff was not told (a) what about her religious accommodation

requests posed an undue hardship; or (b) why she individually could not be

accommodated.

      28.      Here, there was no offer of proof that mask-wearing would result in

actual disruption of the work routine.

      29.      Defendant’s refusal to deviate from a one-size-fits-all approach ignores

the basic tenets of accommodation law.

      30.      The statutory framework for determining reasonable accommodation

requires an interactive process and participation by both the employer and the

employee. Ansonia Bd. of Educ. v. Philbrook, 479 U.S. 60, 69 (1986) (stating that,

consistent with the goals expressed in the legislative history of the religious

accommodation provision, “courts have noted that bilateral cooperation is

appropriate in the search for an acceptable reconciliation of the needs of the

employee’s religion and the exigencies of the employer’s business”).

      31.      “Once an employee makes [an accommodation] request, the employer

is obligated by law to engage in an interactive process—a meaningful dialogue.”

Equal Emp. Opportunity Comm’n v. Chevron Phillips Chem. Co., 570 F.3d 606, 621




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(5th Cir. 2009). Defendant sabotaged the interactive process and evaded any sort of

meaningful dialogue.

      32.    Defendant has no “satisfactory explanation for its action including a

‘rational connection between the facts found and the choice made.’” Burlington

Truck Lines v. United States, 371 U.S. 156, 168 (1962).

      33.    Plaintiff could have followed existing COVID-19 protocols at

Defendant’s facilities prior to the vaccine mandates.

      34.    Plaintiff could have tested for COVID-19 daily and/or weekly.

      35.    Plaintiff was denied any sort of interactive process or bilateral

compromise.

      36.    Plaintiff was terminated effective January 7, 2022.

      37.    Plaintiff’s religious conviction is highlighted by the fact she remained

unvaccinated in the face of inevitable termination—losing her livelihood in the

process.

                       Defendant Violated EEOC Guidance

      38.    On March 1, 2022, the EEOC expanded its guidance on religious

exemption to employer vaccine mandates under Title VII of the Civil Rights Act of

1964 (“Guidance”). This Guidance describes in greater detail the framework under

which the EEOC advises employers to resolve religious accommodation requests.

See Guidance, supra.



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      39.    The EEOC emphasizes that as a reasonable accommodation, an

unvaccinated employee entering the workplace might wear a face mask, work at a

social distance from coworkers or non-employees, work a modified shift, get

periodic tests for COVID-19, be given the opportunity to telework, or finally, accept

a reassignment. Id. at K.2.

      40.    The EEOC states that an employer cannot rely on speculative hardships

when face with an employee’s religious objection but, rather, should rely on

objective information. Id. at L.3.

      41.    The EEOC states that, in many circumstances, it may be possible to

accommodate those seeking reasonable accommodations for their religious beliefs,

practices, or observances without imposing an undue hardship. Id. at K.12.

      42.    The EEOC instructs, “[i]f the employer denies the employee’s proposed

accommodation, the employer should explain to the employee why the preferred

accommodation is not being granted.” Id. at L.5.

      43.    “[T]he definition of religion is broad and protects, beliefs, practices,

and observances with which the employer may be unfamiliar.” Id. at K.12.

      44.    “The definition of ‘religion’ under Title VII protects both traditional

and nontraditional religious beliefs, practices, or observances, including those that

may be unfamiliar to employers.” Id. at L.2.




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      45.    “The employer should ordinarily assume that an employee’s request for

religious accommodation is based on sincerely held religious belief, practice, or

observance.” Id. at K.12.

      46.    “Employers should evaluate religious objections on an individual

basis.” Id. at L.2.

      47.    “An employer should thoroughly consider all possible reasonable

accommodations.” Id. at K.12.

      48.    In most circumstances, it is possible to accommodate religious beliefs

“without imposing an undue hardship.” Id. at L.3.

                   Defendant Cannot Establish Undue Hardship

      49.    Pursuant to ELCRA, the prohibition against religious discrimination

imposes an affirmative duty on employers to reasonably accommodate the religious

observances and practices of its employees, unless the employer can demonstrate

that such an accommodation would cause undue hardship to the conduct of its

business. Trans World Airlines, Inc. v. Hardison, 432 U.S. 63, 74 (1977).

      50.    “The obligation to provide religious accommodations absent undue

hardship is a continuing obligation that allows for changing circumstances.”

Guidance at L.6.

      51.    Defendant bears the burden to show “that it is unable to reasonably

accommodate the employee’s religious beliefs without incurring undue hardship.”



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McDaniel v. Essex Intern., Inc., 571 F.2d 338, 341 (6th Cir.1978); see also Baz v.

Walters, 782 F.2d 701, 706 (7th Cir.1986); Redmond v. GAF Corp., 574 F.2d 897,

901 (7th Cir.1978); EEOC v. Hacienda Hotel, 881 F.2d 1504, 1512 (9th Cir.1989).

      52.    In the instant case, Defendant cannot show undue hardship—especially

because Plaintiff had been working remotely for two years and her position did not

require her to travel or have face-to-face contact with anybody.

      53.    An employer does not satisfy its burden “merely by showing that an

accommodation would be bothersome to administer.” Draper v. United States Pipe

& Foundry Co., 527 F.2d 515, 520 (6th Cir.1975).

      54.    “An employer cannot rely on speculative or hypothetical hardship when

faced with an employee’s religious objection but, rather, should rely on objective

information.” EEOC Guidance at L.3.

                                    COUNT I
            Violation of Elliott-Larsen Civil Rights Act (“ELCRA”)
             Religious Discrimination—Failure to Accommodate

      55.    Plaintiff restates the foregoing paragraphs as set forth fully herein.

      56.    At all relevant times hereto, Plaintiff was an employee and Defendant

was her employer for the purposes of ELCRA.

      57.    ELCRA makes it unlawful for an employer to fail or refuse to

reasonably accommodate the religious beliefs and practices of an employee or

prospective employee.


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      58.   ELCRA prohibits an employer from discriminating against an

employee because of religion.

      59.   After receiving an accommodation request, “the employer is obligated

by law to engage in interactive process – a meaningful dialogue with the

employee[.]” Chevron Phillips Chem. Co., 570 F.3d at 621 (5th Cir. 2009).

      60.   The employer must act in “good faith,” Id., and the employee must

“make a good faith attempt to satisfy his needs through means offered by the

employer,” Brener v. Diagnostic Ctr. Hosp., 671 F.2d 141, 146 (5th Cir. 1982)

      61.   ELCRA makes it unlawful for an employer to retaliate against an

employee who engaged in protected activity.

      62.   Plaintiff holds sincere bona fide religious beliefs that preclude her from

receiving a COVID-19 vaccine.

      63.   Plaintiff informed Defendant of those beliefs and requested religious

accommodation from the vaccine mandate.

      64.   Defendant refused to engage in a meaningful interactive process with

Plaintiff regarding her religious accommodation request.

      65.   Under ELCRA, Plaintiff can establish a prima facie case of religious

discrimination based on a failure to accommodate by showing: (1) she has a bona

fide religious belief that conflicts with an employment requirement; (2) about which

she informed the [Defendant]; and (3) she suffered an adverse employment action



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for failing to comply with the conflicting employment requirement. Ansonia Bd. of

Educ. v. Philbrook, 479 U.S. 60, 69 (1986).

      66.   Multiple accommodations could have been offered to Plaintiff. They

include mask wearing and periodic testing for COVID-19—the very same

accommodations being offered to virtually every public and private employee in the

State of Michigan.

      67.   A “[r]easonable accommodation is by its terms most logically

construed as that which presently, or in the immediate future, enables the employee

to perform the essential functions of the job in question.” Myers v. Hose, 50 F.3d

278, 283 (4th Cir. 1995).

      68.   Defendant would not suffer undue hardship by granting Plaintiff an

accommodation.

      69.   The issue became moot when Defendant failed to engage each

employee in “a meaningful dialogue” about the accommodation request and learn

whether an acceptable accommodation would impose undue hardship. Chevron

Phillips Chem. Co., 570 F.3d at 621 (5th Cir. 2009).

      70.   Instead, Defendant announced a one-size-fits all approach to

accommodation that deprived Plaintiff of the conversation necessary to discover

what accommodations were possible. Bultemeyer v. Fort Wayne Cmty. Schs., 100

F.3d 1281, 1285 (7th Cir. 1996) (“courts should look for signs of failure to



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participate in good faith or failure by one of the parties to help the other party

determine what specific accommodations are necessary” and “[a] party that fails to

communicate... may also be acting in bad faith”).

      71.    Irrespective of the interactive process, Defendant failed to provide

Plaintiff with a reasonable accommodation for her religious beliefs.

      72.    Defendant thereby discriminated against Plaintiff because of her

religious beliefs.

      73.    Defendant’s failure to provide religious accommodations has harmed

and will continue to harm Plaintiff.

      74.    As a direct and proximate result of Defendant’s violation of ELCRA,

Plaintiff has suffered emotional and physical distress, mental and physical anguish,

loss of reputation, humiliation and embarrassment, and the physical effects

associated therewith, and will so suffer in the future.

      75.    As a further direct and proximate result of Defendant’s violation of

ELCRA, Plaintiff has been denied employment and placed in financial distress and

have suffered a loss of earnings and benefits, and a loss of and impairment of their

earning capacity and ability to work and will so suffer in the future; she has

been required to employ the services of an attorney to bring this lawsuit and will

suffer additional damages in the future.




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      76.    By failing to engage in the interactive process or offer any reasonable

accommodation, Defendant’s discriminatory actions were intentional and/or

reckless and in violation of ELCRA.

                                   COUNT II
            Violation of Elliott-Larsen Civil Rights Act (“ELCRA”)
                     Religious Discrimination—Retaliation

      77.    Plaintiff restates the foregoing paragraphs as set forth fully herein.

      78.    At all relevant times hereto, Plaintiff was an employee and Defendant

was her employer.

      79.    ELCRA prohibits an employer from discriminating against an

employee because of religion. This “includes all aspects of religious observance and

practice, as well as belief, unless an employer demonstrates that [it] is unable to

reasonably accommodate an employee’s . . . religious observance or practice without

undue hardship on the conduct of the employer’s business.”

      80.    Pursuant to ELCRA, it is unlawful for an employer: (1) to fail or refuse

to hire or to discharge any individual, or otherwise discriminate against any

individual with respect to his compensation, terms, conditions, or privileges of

employment, because of such individual’s... religion; or (2) to limit, segregate, or

classify his employees or applicants for employment in any way which would

deprive or tend to deprive any individual of employment opportunities or otherwise

adversely affect his status as an employee, because of such individuals... religion[.]”


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        81.   Defendant’s mandatory vaccination policy evades any sort of bilateral

cooperation or interactive process.

        82.   Simply by failing to engage with Plaintiff as to the possible reasonable

accommodations, Defendant has violated the law.

        83.   Plaintiff engaged in protected activity when she requested religious

accommodations from Defendant’s vaccine mandate.

        84.   Defendant retaliated against Plaintiff by terminating her on January 7,

2022.

        85.   Plaintiff’s religious beliefs and protected activity were the causes of

Defendant’s adverse employment action.

        86.   By retaliating against Plaintiff for engaging in protected activity,

Defendant has violated ELCRA.

        87.   This violation has harmed and continues to harm Plaintiff.

                              PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court enter the

following relief:

        (A)   Declare that Defendant has violated Title VII by failing to engage in

              the interactive process in response to requests for accommodation to its

              COVID-19 vaccine mandate;




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      (B)   Declare that Defendant has violated Title VII by discriminating against

            Plaintiff by failing to provide reasonable accommodations to its

            COVID-19 vaccine mandate;

      (C)   Declare that Defendant has violated Title VII by retaliating against

            Plaintiff for engaging in protected activity;

      (D)   Award Plaintiff damages, including back pay, reinstatement or front

            pay, pre-judgment and post-judgment interest, punitive damages, and

            compensatory damages.

      (E)   Award Plaintiff reasonable attorneys’ fees and costs.

      (F)   Grant any other relief that the Court deems just, proper, and equitable.

                                              Respectfully submitted,
                                              HURWITZ LAW PLLC

                                              /s/ Noah S. Hurwitz
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Dated: July 12, 2022




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

CATHERINE DOBRANSKY,
                                                 Case No.
            Plaintiff,
v.                                               Hon.

ARROW ELECTRONICS, INC.,

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                         DEMAND FOR TRIAL BY JURY

       Plaintiff Catherine Dobransky, by and through her attorneys, Hurwitz Law

PLLC, hereby demands a trial by jury in the above-captioned matter for all issues

triable.

                                                 Respectfully Submitted,
                                                 HURWITZ LAW PLLC
                                                 /s/ Noah S. Hurwitz
                                                 Noah S. Hurwitz (P74063)
                                                 Attorneys for Plaintiff
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Dated: July 12, 2022




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